Case 5:23-cr-04058-LTS-KEM   Document 36   Filed 05/09/24   Page 1 of 7
Case 5:23-cr-04058-LTS-KEM   Document 36   Filed 05/09/24   Page 2 of 7
Case 5:23-cr-04058-LTS-KEM   Document 36   Filed 05/09/24   Page 3 of 7
Case 5:23-cr-04058-LTS-KEM   Document 36   Filed 05/09/24   Page 4 of 7
Case 5:23-cr-04058-LTS-KEM   Document 36   Filed 05/09/24   Page 5 of 7
Case 5:23-cr-04058-LTS-KEM   Document 36   Filed 05/09/24   Page 6 of 7
Case 5:23-cr-04058-LTS-KEM   Document 36   Filed 05/09/24   Page 7 of 7
